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THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

IN RE:

CASE NO. 10-30078
GARY D. WHITE

CHAPTER 13

13111 HOLLOW OAK cOURT

DALLAS TX 75287 JUDGE= BARBARA J. HOUSER
A/K/A

D/B/A HEARING DATE=MOn way 10, 2010

 

MOTION TO DISMISS CHAPTER 13 CASE OR IN THE ALTERNATIVE REDUCE ATTORNEY
FEES FOR FAILURE TO CONFIRM AND NOTICE OF HEARING THEREON

 

Now oomes the Offioe of the Chapter 13 Trustee, Dallas and files this

Motion pursuant to Seotion 1307(€) of the Bankruptoy Code and Bankruptoy Rule
9014; and would respectfully show unto the Court as follows:

This case should be dismissed or in the alternative attorney fees reduced for
one or more of the following oauses:

_§ Failure to Obtain Confirmation.

X Confirmation has been denied.

Wherefore, your Trustee prays that after notice and hearing, this Chapter
13 ease be dismissed or in the alternative reduoe attorney fees.

Offioe of the Chapter 13 Trustee, Dallas

BY: /s/ Thomas D. Powers
Thomas D/ Powers/State Bar No. 16218700
125 E. John Carpenter Freeway
Suit€ llOO
Irving, TX 75062
(214) 855-9200/Fax (214) 965-0758

DEBTOR($) ATTORNEY
JOYCE w LINDAUER
3140 wALNUT HILL LANE
sUITE 301
DALLAS Tx 75231

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Notice of Hearing

To the Debtor(s) and the Debtor's(s') Attorney of Record:

You are notified of the filing of the foregoing Motion of Trustee to
Dismiss Chapter 13 case for the reason(s) therein stated. A pre-hearing
conference on the Trustee's Motion will be held on Mon May 10, 2010 at 8:30 A.M.
at Suite 1100, 125 E. John Carpenter Freeway, The Eleventh Floor,

Irving, Texas 75062. Motions not resolved/defaulted at the pre-hearing
conference will be held by the Court at 2200 PIVI on the same day at 1100
Commerce Street, the Fourteenth Floor, Dallas, Texas 75242-1496. You do not
have to attend the pre-hearing conference or hearing unless you oppose
dismissal of the case.

 

Certificate of Service

1 hereby certify that a copy of the foregoing Motion to Dismiss Chapter 13 Case
and Notice of Hearing thereon was served on the following parties at the
addresses listed below by United States First Class Mail:

DEBTOR(S): GARY D. W'HlTE, 18111 HOLLOW OAK COURT, , DALLAS TX, 75287

DEBT OR(S') ATTORNEY:
JOYCE W L]NDAUER, 8140 WA.LN'UT H]l.L LANE, SUlTE301, DA.LLAS TX, 75231

CREDITORS:
COUNTY OF DA.LLAS, CO UNEBARGER GOGGA.N BLA]R, 2323 BRYAN SI`REET SUITE 1600, DALI_AS TX, 75201-2644
Pl'I'E DUNCANLLP, 4375 J'US'I`LAND DR STE 200, PO BOX 17935, SAN DIEGO CA, 92117-0935

Dated: March 31, 2010 By: /s/ Thomas D. Powers

 

